                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  JUDITH B. REED,                       :
                                        :
        Plaintiff,                      :   Case No. 3:05-CV-498
                                        :
  vs.                                   :
                                        :   Varlan / Shirley
  TENNESSEE STATE BANCSHARES, INC., :
  and TENNESSEE STATE BANK,             :
                                        :
        Defendant.                      :
  ______________________________________________________________________________

           SUPPLEMENTAL RESPONSE TO THE DEFENDANTS MOTION FOR
                           SUMMARY JUDGMENT

         Plaintiff, by and through counsel, in supplement to the heretofore filed Plaintiff’s

  Response to Defendants Motion fo Summary Judgment, submits the following:

         The Defendant would have the Court believe that the Plaintiff was terminated for

  performance issues and as part of an alteration to the Bank’s then existing structure. Their

  argument in support of the Defendants Motion for Summary Judgment is replete with statements

  to that effect. However, one of the two witnesses that the Defendant presents as being primary

  decision makers in the decision to terminate the Plaintiff, when asked directly, specifically stated

  that the reason for Plaintiff’s termination was not based on performance issues, but because “We

  were eliminating the position.” Sutton deposition, p. 61, lns. 20-23. Ms. Sutton also recalled,

  although she could not remember any specifics, that discussion was had and a decision made

  during a senior management meeting in January 6, 2004 to eliminate the position of branch

  manager at the South Knoxville branch and thus eliminate Plaintiff. Sutton deposition, pp. 60-61.

  This is in direct contradiction of the testimony of Scott Gibson, CFO and COO for the defendant,




Case 3:05-cv-00498-TWP-CCS Document 60 Filed 10/02/07 Page 1 of 4 PageID #: 107
  who stated that he personally made the decision to terminate Plaintiff in December, 2003 Gibson

  deposition, pp. 39,41, and that any discussion at the senior management meeting on January 6,

  2004 was for “Informational purposes.” Gibson deposition, p 56. Mr. Gibson’s revelation that he

  was the sole individual responsible for the decision to terminate the Plaintiff is interesting for

  another important reason. Defendant’s counsel, in the Memorandum in support of the Motion for

  Summary Judgment, makes argument that the arguably age related comments made by Mr.

  Gibson “. . .cannot be construed as anything other than an ambiguous, isolated stray remark.,

  particularly in light of the fact Mr. Gibson was just one of several decision-makers who

  determined that the Plaintiff’s position as Branch Manager should be eliminated several

  months after the comment was made. ” (emphasis added) Clearly Mr. Gibson has laid waste to

  this argument!

         In both the declarations of Scott Gibson and Tammie Sutton submitted as support for the

  defendants Motion for Summary Judgment, each declares that the “position” was one of only two

  within the Defendant’s corporate structure in which the position of branch manager was held by

  someone who didn’t also hold another position such as lending officer, Head Teller, or Senior

  Customer Representative, Gibson Declaration, para. 9; Sutton Declaration, para. 10, and Ms

  Sutton further referred to these positions as “Stand alone” branch managers. During depositions,

  however, it became clear that not only did no other branch manager, at that time, hold the

  position of Head Teller or Senior Customer Representative, but also, that, not only did Plaintiff

  function as a teller and a customer service representative, but she also maintained a loan portfolio

  and was, in fact, a lending officer. Sutton deposition, pp., 56-7. The fact that the information

  regarding the nature of Plaintiff’s position contained in the declarations is not, in fact, accurate

  simply bolsters Plaintiff’s argument that she was “singled out” for termination and that the




Case 3:05-cv-00498-TWP-CCS Document 60 Filed 10/02/07 Page 2 of 4 PageID #: 108
  defendant is now raising the specter of the elimination of her position (i.e., a reduction in force)

  as a pretext to justify that termination.

          Defendant cannot decide whether to argue that the Plaintiff was terminated as a result of

  the elimination of her position or because of performance issues and as a result the defendant is

  hoist on its own petard . This somewhat schizophrenic response only strengthens Plaintiff’s

  position that the reasons now being given for her termination are pre-textual and that Diane

  Pacey’s testimony [referenced in the original response] that the decision to terminate the Plaintiff

  was, in fact made many months prior to December, 2003 and that the “performance issues”, like

  the elimination of the Plaintiff’s position, are nothing more than a sham being used to justify an

  otherwise unjustifiable termination.

          The attempt to justify the termination of the Plaintiff by making the statement that the

  South Knoxville branch was “profitable” for the first time since records on profitability were

  maintained is simply a red herring and should be seen for what it is by the Court. The defendant’s

  declarants make a bare statement without any description of how these numbers were determined

  or what factors, such as the general economy, the number or growth of commercial loans, or the

  Fed rate, for example may have affected the figure to which they refer. Nothing in the

  declarations of the defendant’s witnesses in any way connects the termination of the Plaintiff and

  the “profitability” of th South Knoxville branch. They simply wish the Court to infer a direct

  relationship with no factual basis. No consideration should be given to such an argument.

          Considering the evidence before the Court in the light most favorable to the Plaintiff, it is

  clear that, at the very least, the termination of the Plaintiff presents a jury question and as such

  the Motion for Summary Judgment on the part of the Defendant should be denied.




Case 3:05-cv-00498-TWP-CCS Document 60 Filed 10/02/07 Page 3 of 4 PageID #: 109
         Respectfully submitted this 1st day of October, 2007.




                                                              s/ Angela Morelock
                                                             Angela R. Morelock
                                                             GA Bar No. 521979
  1410 N. Broadway
  Knoxville, TN 37917
  (865) 971-4330
  Fax: (865) 540-1310
                                                               s/ James H. Varner, Jr
                                                             James. H. Varner, Jr.
                                                             TN BPR # 9277
  P.O. Box 10366
  Knoxville, TN 37939
  (865) 766-0664




                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 2, 2007, a copy of the foregoing Motion was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by regular U.S. Mail. Parties may access this filing through the Court’s
  electronic filing system.

                                                                 s/ James H. Varner, Jr.
                                                                     James H. Varner, Jr.




Case 3:05-cv-00498-TWP-CCS Document 60 Filed 10/02/07 Page 4 of 4 PageID #: 110
